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                        EXHIBIT 32
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 2
                      IN THE CIRCUIT COURT OF THE STATE OF OREGON
 3
                                  FOR THE COUNTY OF JACKSON
 4

 5   In the Matter of:

 6   HEIDI MARIE BROWN,                                   Case No. 23CN05721

 7                         Petitioner,                    MOTION FOR RECONSIDERATION 0
                                                          MOTION FOR DISQUALIFICATION OF
            and                                           JUDGE ORR FOR LACK OF
 8
     ARNAUD PARIS,                                        IMPARTIALITY AND DENIAL OF DUE
 9                                                        PROCESS AND SUPPORTING
                                                          AFFIDAVIT-ORS 14.250
10                         Respondent, Pro Per.

11

12
            On January 3rd 2024, I, Arnaud Paris, Respondent, Pro Per, filed a motion for
13
     disqualification of Judge Orr based on substantiated evidence, including court
14
     transcripts, that Judge Orr was so biased against Respondent in open-court to the point
15
     of making improper jokes about French people and the French judicial system while
16
     Respondent is a French National and brought in front of this court a French judgment
17
     that the court rejected while refusing due process to Respondent.
18
            Judge Orr has just been assigned to this new case 23CN05721 and in light of the
19
     evidence presented in the motion for disqualification filed on January 3rd with the
20
     Jackson County court, Respondent has clear ground to believe that he wouldn't be
21
     given a "fair and impartial trial or hearing".
22
     II
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                                                      1
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 1            Judge Bloom considered the motion for disqualification without Respondent

 2   being informed and denied that motion without any justification for the reason and legal

 3   basis for this denial.

 4            This motion seeks reconsideration of the decision to deny my previous motion for

 5   disqualification under ORS 14.250, asserting that the decision lacks legal justification

 6   and fails to adhere to required procedural protections.

 7

 8   Grounds for Reconsideration :

 9        •   Denial Lacks Statutory Basis: ORS 14.250 does not provide explicit grounds

1O            for a judge to reject a motion for disqualification without a substantive legal basis.

11            The absence of a detailed denial from Judge Bloom indicates a procedural

12            oversight and a deviation from the principles of law.

13        •   Requirement for Legal Justification: A mere denial without citing specific legal

14            reasons is insufficient and undermines the procedural integrity of the court. The

15            law mandates that decisions, especially denials of motions for disqualification, be

16            grounded in clear legal rationale.

17        •   Insufficiency of Grounds for Denial: The denial of the motion without

18            addressing the cited reasons for disqualification suggests an insufficiency of

19            grounds, making the denial procedurally defective.

20        •   Non-Compliance with Disqualification Law: By not following the clear

21            mandate of ORS 14.250 regarding disqualification, the court has not adhered to

22            the statutory requirement, raising concerns about impartiality and fair trial rights.

23   I/
                                                     2
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 1      •   Procedural Protection and Application of Law: The court's refusal to engage

 2          with the motion's arguments or to apply the law as required constitutes a failure

 3          to provide the most basic procedural protections to the parties involved.

 4

 5   Argument The decision by Judge Bloom to deny the motion for disqualification without

 6   substantive justification not only contravenes ORS 14.250 but also sets a concerning

 7   precedent for the disregard of legal standards and procedural fairness. This is

 8   particularly troubling and concerning in light of the clear denial of due process and the

 9   judicial bias that took place already in Jackson County through Judge Orr. The absence

1O of a reasoned explanation by Judge Bloom or reference to applicable law in his denial

11   undermines the judiciary's responsibility to operate within the bounds of established

12   legal frameworks.

13

14   Request for Relief I respectfully request that this court:

15      •   Reconsider and overturn the denial of the motion for disqualification of Judge Orr

16      •   Provide a detailed legal justification for any decision made regarding this motion,

17          in compliance with ORS 14.250 and the principles of due process.

18

19   Conclusion The integrity of the judicial process depends on adherence to the rule of

20   law and procedural fairness. I urge the court to reconsider its decision in light of the

21   arguments presented herein and in the original motion for disqualification and to ensure

22   that its proceedings reflect the legal standards set forth by the state of Oregon.

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                                                   3
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 1          I hereby declare that the above statement is true to the best of my knowledge

 2   and belief, and that I understand it is made for use as evidence in court and is subject to

 3   penalty for perjury of the laws in the state of Oregon.

 4

 5   Prepared on February 22nd 2024 in Paris and sent to the court by FEDEX

 6

 7

 8
     By:_·_
 g   ARNAUD PARIS, Respondent, Pro Per
     13 rue Ferdinand Duval,
10   75004, PARIS, FRANCE
     Telephone: +33688283641
     Email: aparis@sysmicfilms.com
11

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                                                  4
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 1                                  CERTIFICATE OF SERVICE

 2      I hereby certify that I served the foregoing MOTION FOR RECONSIDERATION OF
        MOTION FOR DISQUALIFICATION OF JUDGE ORR FOR LACK OF
 3      IMPARTIALITY AND DENIAL OF DUE PROCESS AND SUPPORTING AFFIDAVIT
        - ORS 14.250 on the following party:
 4
                                            Heidi Marie Brown
                                             2256 Abbott Ave
 5
                                           Ashland, OR 97520
                                         heidimparis@gmail.com
 6
                                               Respondent
 7                                      Taylor L.M. Murdoch,
                                         Buckley Law P.C.
 8                                 5300 Meadows Road, Suite 200
                                      Lake Oswego, OR 97035
 9                                     TLM@buckley-law.com
                                  Last Known Attorney for Respondent
10
     By the following method or methods:
11          by mailing full, true, and correct copies thereof in sealed, first class postage
     prepaid envelopes, addressed to the attorneys(s) as shown above, the last known office addre s of
12   the attorney(s), and deposited with the United States Postal Service at Portland, Oregon on the date
     set forth below.
13
     X    by emailing full, true, and correct copies thereof to the attorney(s) at the email address
     shown above, which is the last known email address for the attorney(s) office, on the date set f rth
14
     below.

15        by faxing full, true, and correct copies thereof to the attorney(s) at the fax number(s)
     shown above, which is the last known fax number for the attorney(s) office, on the date set fort
16   below. The receiving fax machines were operating at the time of service and the transmission
     properly completed.
17
            by selecting the individual(s) listed above as a service contact when preparing this electr nic
     filing submission, thus causing the individual(s) to be served by means of the court's electroni filing
18   system.

19   Prepared on February 22nd 2024 in Paris and sent to the court by FEDEX

20

21
     ARNAUD PARIS, Respondent, Pro Per
22
     13 rue Ferdinand Duval
     75004, PARIS, FRANCE
23   Telephone: +33688283641- Email: aparis@sysmicfilms.com
                                                    5
24



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